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                       UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO

 HALIMA HAGI ABUKAR,                         )
                                             )
       Plaintiff,                            ) CIVIL COMPLAINT
                                             )
 v.                                          )
                                             ) Case No. 2:21-cv-2383
 WILLIS LAW FIRM LLC, and                    )
 DIMITRIOS G. HATZIFOTINOS,                  )
                                               JURY DEMAND
                 .                           )
     Defendants.                             )

                     NOTICE OF DISMISSAL WITH PREJUDICE

      Now comes Plaintiff HALIMA HAGI ABUKAR and dismisses this case with

prejudice pursuant to Rule 41(a)(1)(A)(i).

Dated: June 23, 2021

                                             By: s/ Geoffrey Parker
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